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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA

SYMBOLOGY INNOVATIONS, LLC,
                                                         CASE NO. 6:16-cv-2198
       Plaintiff,
                                                             PATENT CASE
v.
                                                      JURY TRIAL DEMANDED
CIRCLE K STORES INC.,
                                                       LEAD CASE: 6:16-cv-2197
       Defendant.


     DEFENDANT CIRCLE K STORES INC.’S ANSWER, AFFIRMATIVE DEFENSES,
            AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

        Defendant Circle K Stores Inc. (“Circle K”) files this Answer and Counterclaims

to Plaintiff Symbology Innovations, LLC’s (“Plaintiff”) Complaint for Infringement of

Patent (“Complaint”). Circle K denies the allegations and characterizations in Plaintiff’s

Complaint unless expressly admitted in the following paragraphs.

                              NATURE OF THE ACTION

        1.    Circle K admits that the Complaint purports to set forth an action for

patent infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.,

and that Plaintiff purports to seek injunctive relief as well as damages, attorney’s fees,

and costs. Circle K further admits that a purported copy of U.S. Patent No. 8,424,752

(the “’752 Patent”) is attached to the Complaint as Exhibit A; U.S. Patent No. 8,651,369

(the “’369 Patent”) is attached to the Complaint as Exhibit B; U.S. Patent No. 8,936,190

(the “’190 Patent”) is attached to the Complaint as Exhibit C; and U.S. Patent No.

7,992,773 (the “’773 Patent”) is attached to the Complaint as Exhibit D (collectively, the

“Patents-in-Suit”). Circle K denies it has committed or is committing acts of

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infringement and/or “profiting, in an illegal and unauthorized manner and without

authorization and/or of the consent from Symbology Innovations” such that Plaintiff is

entitled to any relief from Circle K. Circle K denies any remaining allegations in

Paragraph 1 of the Complaint.

                                       THE PARTIES

       2.     Circle K is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 2 of the Complaint and, on that basis, denies

all such allegations.

       3.     Circle K admits the allegations in Paragraph 3 of the Complaint.

                              JURISDICTION AND VENUE

       4.     Circle K admits that this Court has subject matter jurisdiction over this

action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       5.     Circle K does not contest whether personal jurisdiction over it properly

lies in this District in this case, or that it conducts business in the State of Florida. Circle

K denies it has committed or is committing acts of infringement within the State of

Florida or in this District and, on that basis, denies the remaining allegations of

Paragraph 5 of the Complaint.

       6.     Circle K does not contest whether personal jurisdiction over it properly

lies in this District in this case, or that it conducts business in the State of Florida. Circle

K denies it has committed or is committing acts of infringement within Florida or in this

District and, on that basis, denies the remaining allegations of Paragraph 6 of the

Complaint.

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       7.     Circle K admits that it conducts business in the State of Florida and in this

District. Circle K denies it has committed or is committing acts of infringement within

Florida or in this District and, on that basis, denies the remaining allegations of

Paragraph 7 of the Complaint.

       8.     Circle K admits that it conducts business in the State of Florida and in this

District. Circle K denies it has committed or is committing acts of infringement within

Florida or in this District and, on that basis, denies the remaining allegations of

Paragraph 8 of the Complaint.

       9.     Circle K denies it has committed or is committing acts of infringement

within Florida or in this District and, on that basis, denies the allegations of Paragraph 9

of the Complaint.

       10.    Circle K admits that venue may be proper but denies that venue is

convenient in this judicial district as to Circle K.

                                FACTUAL ALLEGATIONS

                                          ‘752 Patent

       11.    Circle K admits that the purported copy of the ‘752 Patent that is attached

to the Complaint as Exhibit A indicates that it issued on April 23, 2013 and is entitled

“System and Method for Presenting Information About an Object on a Portable

Electronic Device.” Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 11 of the Complaint and,

on that basis, denies all such allegations.

       12.    Circle K is without knowledge or information sufficient to form a belief as

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to the truth of the allegations in Paragraph 12 of the Complaint and, on that basis,

denies all such allegations.

       13.    Circle K admits that the purported copy of the ‘752 Patent that is attached

to the Complaint as Exhibit A appears to contain three independent claims and twenty-

five dependent claims. Circle K denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 13 of the

Complaint.

       14.    Circle K denies that the claims of the ‘752 Patent constitute inventions or

patent subject matter. Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 14 of the Complaint and,

on that basis, denies all such allegations.

                                         ‘369 Patent

       15.    Circle K admits that the purported copy of the ‘369 Patent that is attached

to the Complaint as Exhibit B indicates that it issued on February 18, 2014, and is

entitled “System and Method for Presenting Information About an Object on a Portable

Electronic Device.” Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 15 of the Complaint and,

on that basis, denies all such allegations.

       16.    Circle K is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 16 of the Complaint and, on that basis,

denies all such allegations.

       17.    Circle K admits that the purported copy of the ‘369 Patent that is attached

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to the Complaint as Exhibit B appears to contain three independent claims and twenty-

five dependent claims. Circle K denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 17 of the

Complaint.

       18.    Circle K denies that the claims of the ‘369 Patent constitute inventions or

patent subject matter. Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 18 of the Complaint and,

on that basis, denies all such allegations.

                                         ‘190 Patent

       19.    Circle K admits that the purported copy of the ‘190 Patent that is attached

to the Complaint as Exhibit C indicates that it issued on January 20, 2015, and is entitled

“System and Method for Presenting Information About an Object on a Portable

Electronic Device.” Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 19 of the Complaint and,

on that basis, denies all such allegations.

       20.    Circle K is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 20 of the Complaint and, on that basis,

denies all such allegations.

       21.    Circle K admits that the purported copy of the ‘190 Patent that is attached

to the Complaint as Exhibit C appears to contain three independent claims and

seventeen dependent claims. Circle K denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 21 of the

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Complaint.

       22.    Circle K denies that the claims of the ‘190 Patent constitute inventions or

patent subject matter. Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 22 of the Complaint and,

on that basis, denies all such allegations.

                                         ’773 Patent

       23.    Circle K admits that the purported copy of the ‘773 Patent that is attached

to the Complaint as Exhibit D indicates that it issued on August 9, 2011, and is entitled

“System and Method for Presenting Information About an Object on a Portable

Electronic Device.” Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 23 of the Complaint and,

on that basis, denies all such allegations.

       24.    Circle K is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 24 of the Complaint and, on that basis,

denies all such allegations.

       25.    Circle K admits that the purported copy of the ‘773 Patent that is attached

to the Complaint as Exhibit D appears to contain three independent claims and fifteen

dependent claims. Circle K denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 25 of the

Complaint.

       26.    Circle K denies that the claims of the ‘773 Patent constitute inventions or

patent subject matter. Circle K is without knowledge or information sufficient to form a

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belief as to the truth of the remaining allegations in Paragraph 26 of the Complaint and,

on that basis, denies all such allegations.



                                  COUNT I
                 [ALLEGED] INFRINGEMENT OF THE ‘752 PATENT

       27.    Circle K incorporates by reference each of its responses set forth in

Paragraphs 1-26 above as if fully set forth herein.

       28.    Circle K denies the allegations in Paragraph 28 of the Complaint.

       29.    Circle K admits that it has had knowledge of the ‘752 Patent since the time

it was served with the Complaint. Circle K denies the remaining allegations in

Paragraph 29 of the Complaint.

       30.    Circle K denies the allegations in Paragraph 30 of the Complaint.

       31.    Circle K admits that a Quick Response (QR) code has appeared on some

advertising for Circle K’s products and services. Circle K denies that it has committed

or is committing acts of infringement in this district or elsewhere and, on that basis,

denies any remaining allegations in Paragraph 31 of the Complaint.

       32.    Circle K incorporates its admissions, averments, and denials in

Paragraph 31 above as if set forth fully herein. Circle K is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 32 of the Complaint and, on that basis, denies all such allegations.

       33.    Circle K incorporates its admissions, averments, and denials in

Paragraph 31 above as if set forth fully herein. Circle K is without knowledge or



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information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 33 of the Complaint and, on that basis, denies all such allegations.

       34.    Circle K incorporates its admissions, averments, and denials in

Paragraph 31 above as if set forth fully herein. Circle K is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 34 of the Complaint and, on that basis, denies all such allegations.

       35.    Circle K incorporates its admissions, averments, and denials in

Paragraph 31 above as if set forth fully herein. Circle K admits that product and service

information is available at: http://www.circlekaz.com and can be viewed on a portable

electronic device. Circle K is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 35 of the Complaint and,

on that basis, denies all such allegations.

       36.    Circle K denies the allegations in Paragraph 36 of the Complaint.

       37.    Circle K denies the allegations in Paragraph 37 of the Complaint.

       38.    Circle K denies the allegations in Paragraph 38 of the Complaint.

       39.    Circle K denies the allegations in Paragraph 39 of the Complaint.

                                 COUNT II
                 [ALLEGED] INFRINGEMENT OF THE ‘369 PATENT

       40.    Circle K incorporates by reference each of its responses set forth in

Paragraphs 1-39 above as if fully set forth herein.

       41.    Circle K denies the allegations in Paragraph 41 of the Complaint.

       42.    Circle K admits that it has had knowledge of the ‘369 Patent since the time



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it was served with the Complaint. Circle K denies the remaining allegations in

Paragraph 42 of the Complaint.

      43.    Circle K denies the allegations in Paragraph 43 of the Complaint.

      44.    Circle K admits that a Quick Response (QR) code has appeared on some

advertising for Circle K’s products and services. Circle K denies that it has committed

or is committing acts of infringement in this district or elsewhere and, on that basis,

denies any remaining allegations in Paragraph 44 of the Complaint.

      45.    Circle K incorporates its admissions, averments, and denials in

Paragraph 44 above as if set forth fully herein. Circle K is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 45 of the Complaint and, on that basis, denies all such allegations.

      46.    Circle K incorporates its admissions, averments, and denials in

Paragraph 44 above as if set forth fully herein. Circle K is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 46 of the Complaint and, on that basis, denies all such allegations.

      47.    Circle K incorporates its admissions, averments, and denials in

Paragraph 44 above as if set forth fully herein. Circle K is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 47 of the Complaint and, on that basis, denies all such allegations.

      48.    Circle K incorporates its admissions, averments, and denials in

Paragraph 44 above as if set forth fully herein. Circle K admits that product and service

information is available at: http://www.circlekaz.com and can be viewed on a portable

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 electronic device. Circle K is without knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations in Paragraph 48 of the Complaint and,

 on that basis, denies all such allegations.

        49.    Circle K denies the allegations in Paragraph 49 of the Complaint.

        50.    Circle K denies the allegations in Paragraph 50 of the Complaint.

        51.    Circle K denies the allegations in Paragraph 51 of the Complaint.

        52.    Circle K denies the allegations in Paragraph 52 of the Complaint.

                                  COUNT III
                  [ALLEGED] INFRINGEMENT OF THE ‘190 PATENT

        53.    Circle K incorporates by reference each of its responses set forth in

 Paragraphs 1-52 above as if fully set forth herein.

        54.    Circle K denies the allegations in Paragraph 54 of the Complaint.

        55.    Circle K admits that it has had knowledge of the ‘190 Patent since the time

 it was served with the Complaint. Circle K denies the remaining allegations in

 Paragraph 55 of the Complaint.

        56.    Circle K denies the allegations in Paragraph 56 of the Complaint.

        57.    Circle K admits that a Quick Response (QR) code has appeared on some

 advertising for Circle K’s products and services. Circle K denies that it has committed

 or is committing acts of infringement in this district or elsewhere and, on that basis,

 denies any remaining allegations in Paragraph 57 of the Complaint.

        58.    Circle K incorporates its admissions, averments, and denials in

 Paragraph 57 above as if set forth fully herein. Circle K is without knowledge or


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 information sufficient to form a belief as to the truth of the remaining allegations in

 Paragraph 58 of the Complaint and, on that basis, denies all such allegations.

        59.    Circle K incorporates its admissions, averments, and denials in

 Paragraph 57 above as if set forth fully herein. Circle K is without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in

 Paragraph 59 of the Complaint and, on that basis, denies all such allegations.

        60.    Circle K incorporates its admissions, averments, and denials in

 Paragraph 57 above as if set forth fully herein. Circle K is without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in

 Paragraph 60 of the Complaint and, on that basis, denies all such allegations.

        61.    Circle K incorporates its admissions, averments, and denials in

 Paragraph 57 above as if set forth fully herein. Circle K admits that product and service

 information is available at: http://www.circlekaz.com and can be viewed on a portable

 electronic device. Circle K is without knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations in Paragraph 61 of the Complaint and,

 on that basis, denies all such allegations.

        62.    Circle K denies the allegations in Paragraph 62 of the Complaint.

        63.    Circle K denies the allegations in Paragraph 63 of the Complaint.

        64.    Circle K denies the allegations in Paragraph 64 of the Complaint.

        65.    Circle K denies the allegations in Paragraph 65 of the Complaint.




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                                  COUNT IV
                  [ALLEGED] INFRINGEMENT OF THE ‘773 PATENT

        66.    Circle K incorporates by reference each of its responses set forth in

 Paragraphs 1-65 above as if fully set forth herein.

        67.    Circle K denies the allegations in Paragraph 67 of the Complaint.

        68.    Circle K admits that it has had knowledge of the ‘773 Patent since the time

 it was served with the Complaint. Circle K denies the remaining allegations in

 Paragraph 68 of the Complaint.

        69.    Circle K denies the allegations in Paragraph 69 of the Complaint.

        70.    Circle K admits that a Quick Response (QR) code has appeared on some

 advertising for Circle K’s products and services. Circle K denies that it has committed

 or is committing acts of infringement in this district or elsewhere and, on that basis,

 denies any remaining allegations in Paragraph 70 of the Complaint.

        71.    Circle K incorporates its admissions, averments, and denials in

 Paragraph 70 above as if set forth fully herein. Circle K is without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in

 Paragraph 71 of the Complaint and, on that basis, denies all such allegations.

        72.    Circle K incorporates its admissions, averments, and denials in

 Paragraph 70 above as if set forth fully herein. Circle K is without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in

 Paragraph 72 of the Complaint and, on that basis, denies all such allegations.

        73.    Circle K incorporates its admissions, averments, and denials in


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 Paragraph 70 above as if set forth fully herein. Circle K is without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in

 Paragraph 73 of the Complaint and, on that basis, denies all such allegations.

        74.       Circle K incorporates its admissions, averments, and denials in

 Paragraph 70 above as if set forth fully herein. Circle K admits that product and service

 information is available at: http://www.circlekaz.com and can be viewed on a portable

 electronic device. Circle K is without knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations in Paragraph 74 of the Complaint and,

 on that basis, denies all such allegations.

        75.       Circle K incorporates its admissions, averments, and denials in

 Paragraph 70 above as if set forth fully herein. Circle K is without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in

 Paragraph 75 of the Complaint and, on that basis, denies all such allegations.

        76.       Circle K denies the allegations in Paragraph 76 of the Complaint.

        77.       Circle K denies the allegations in Paragraph 77 of the Complaint.

        78.       Circle K denies the allegations in Paragraph 78 of the Complaint.

        79.       Circle K denies the allegations in Paragraph 79 of the Complaint.

                         PLAINTIFF’S DEMAND FOR JURY TRIAL

        80.       Circle K is not required to provide a response to Plaintiff’s request for a

 trial by jury.

                                     PRAYER FOR RELIEF

        Circle K denies that Plaintiff is entitled to any relief from Circle K and denies all


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 the allegations contained in Paragraphs (a)-(f) of Plaintiff’s Prayer for Relief.

                                AFFIRMATIVE DEFENSES

        Circle K’s Affirmative Defenses are listed below. Circle K reserves the right to

 amend its answer to add additional Affirmative Defenses consistent with the facts

 discovered in this case.

                             FIRST AFFIRMATIVE DEFENSE

        Circle K has not infringed and does not infringe, under any theory of

 infringement (including directly (whether individually or jointly) or indirectly (whether

 contributorily or by inducement)), any valid, enforceable claim of the ’752, ’369, ’190

 and/or ‘773 Patents (collectively, the “Asserted Patents”).

                            SECOND AFFIRMATIVE DEFENSE

        Each asserted claim of the Asserted Patents is invalid for failure to comply with

 one or more of the requirements of the United States Code, Title 35, including without

 limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws

 pertaining thereto.

                            THIRD AFFIRMATIVE DEFENSE

        Plaintiff’s attempted enforcement of the Asserted Patents against Circle K is

 barred by the doctrine of inequitable conduct.

                            FOURTH AFFIRMATIVE DEFENSE

        To the extent that Plaintiff and any predecessors in interest to any of the Asserted

 Patents failed to properly mark any of their relevant products or materials as required

 by 35 U.S.C. § 287, or otherwise give proper notice that Circle K’s actions allegedly


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 infringe the Asserted Patents, Circle K is not liable to Plaintiff for the acts alleged to

 have been performed before it received actual notice that it was allegedly infringing the

 Asserted Patents.

                            FIFTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that Circle K indirectly infringes, either by

 contributory infringement or inducement of infringement, Circle K is not liable to

 Plaintiff for the acts alleged to have been performed before Circle K knew that its

 actions would cause indirect infringement.

                            SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s attempted enforcement of the Asserted Patents against Circle K is

 barred by one or more of the equitable doctrines of laches, estoppel, acquiescence,

 waiver, and unclean hands.

                         SEVENTH AFFIRMATIVE DEFENSE

       The claims of the Asserted Patents are not entitled to a scope sufficient to

 encompass any system employed or process practiced by Circle K.

                          EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted

 because, among other things, Plaintiff has not stated a plausible allegation that Circle K

 makes, uses, or sells each claimed element of any asserted claim, or that Circle K directs

 or controls another entity to make, use, or sell any element that is not made, used, or

 sold by Circle K.




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                             NINTH AFFIRMATIVE DEFENSE

          To the extent Plaintiff contends that it alleges a claim for indirect infringement

 (whether by inducement or contributorily), Plaintiff has failed to state a claim upon

 which relief can be granted.

                             TENTH AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint fails to state a claim upon which relief can be granted

 because the Asserted Patents do not claim patentable subject matter under 35 U.S.C.

 § 101.

                           ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint fails to state a claim upon which relief can be granted

 because, among other things, Plaintiff has not stated a plausible allegation that any

 method employed by Circle K: (1) captures a digital image; (2) detects symbology

 associated with the digital image; (3) decodes the symbology to obtain a decode string;

 or (4) sends the decode string to a remote server for processing as required by the

 Asserted Patents.

                              CIRCLE K’S COUNTERCLAIMS

          For   its   counterclaims   against   Plaintiff   Symbology   Innovations,   LLC

 (“Symbology”), Counterclaim Plaintiff Circle K Stores Inc. (“Circle K”), alleges as

 follows:

                                          PARTIES

          1.    Counterclaim Plaintiff Circle K Stores Inc. is a corporation organized and

 existing under the laws of the State of Texas, with offices located at 1130 W. Warner Rd.,


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 Bldg. B, Tempe, AZ 85284.

        2.     Upon information and belief based solely on Paragraph 2 of the

 Complaint as pled by Plaintiff, Counterclaim Defendant Symbology Innovations, LLC,

 is a limited liability company organized and existing under the laws of the State of

 Texas and maintains its principle place of business at 1400 Preston Road, Suite 400,

 Plano, Texas 75093.

                                      JURISDICTION

        3.     Circle K incorporates by reference Paragraphs 1–2 above.

        4.     These counterclaims arise under the patent laws of the United States, Title

 35, United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C.

 § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

        5.     Symbology has consented to the personal jurisdiction of this Court at least

 by commencing its action for patent infringement in this District, as set forth in its

 Complaint.

        6.     Based solely on Symbology’s filing of this action, venue is proper, though

 not necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                          COUNT I

                DECLARATION REGARDING NON-INFRINGEMENT

        7.     Circle K incorporates by reference Paragraphs 1–6 above.

        8.     Based on Symbology’s filing of this action and at least Circle K’s first

 affirmative defense, an actual controversy has arisen and now exists between the parties

 as to whether Circle K infringes the ’752, ’369, ’190, and/or ‘773 Patents (collectively, the


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 “Asserted Patents”).

        9.     Circle K does not infringe Claim 1 of the Asserted Patents because, among

 other things, it does not: (1) capture a digital image; (2) detect symbology associated

 with the digital image; (3) decode the symbology to obtain a decode string; or (4) send

 the decode string to a remote server for processing.

        10.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

 Circle K requests a declaration by the Court that Circle K has not infringed and does not

 infringe any claim of the Asserted Patents under any theory (including directly

 (whether individually or jointly) or indirectly (whether contributorily or by

 inducement)).

                                         COUNT II

                      DECLARATION REGARDING INVALIDITY

        11.    Circle K incorporates by reference Paragraphs 1–10 above.

        12.    Based on Symbology's filing of this action and at least Circle K’s Second

 Affirmative Defense, an actual controversy has arisen and now exists between the

 parties as to the validity of the claims of the Asserted Patents.

        13.    The asserted claims of the ’752, ‘369, and ‘190 Patents are anticipated

 and/or rendered obvious by, inter alia, BarPoint.com, Neomedia’s Neo Reader,

 Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, U.S. Serial No.

 60/118,051, U.S. Serial No. 60/187,646, U.S. Serial No. 60/185,546, U.S. Patent

 Application 2008/0004978, U.S. Patent No. 6,430,554, and/or U.S. Patent No. 6,651,053.

        14.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

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 Circle K requests a declaration by the Court claims of the Asserted Patents are invalid

 for failure to comply with one or more of the requirements of United States Code, Title

 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules,

 regulations, and laws pertaining thereto.

                                         COUNT III

                 DECLARATION REGARDING UNENFORCEABILITY
                       DUE TO INEQUITABLE CONDUCT

        15.    Circle K incorporates by reference Paragraphs 1–14 above.

        16.    Based on Symbology's filing of this action and at least Circle K’s Third

 Affirmative Defense, an actual controversy has arisen and now exists between the

 parties as to the enforceability of the claims of the Asserted Patents.

        17.    The named inventor, Leigh Rothschild, had knowledge of material, non-

 cumulative prior art regarding the Asserted Patents and, on information and belief,

 deliberately withheld the material, non-cumulative prior art from disclosure to the

 United States Patent and Trademark Office (“USPTO”) during prosecution of the

 Asserted Patents with the intent to deceive the examiner and the USPTO.

        18.    On information and belief, Reagan Innovations, LLC, assignee of the

 Asserted Patents, and/or the representatives associated with the filing and prosecution

 of the applications for the Asserted Patents, had knowledge of material, non-cumulative

 prior art regarding the Asserted Patents and, on information and belief, deliberately

 withheld the material, non-cumulative prior art from disclosure to the USPTO with the

 intent to deceive the examiner and the USPTO.



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        19.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

 Circle K requests a declaration by the Court that all claims of the Asserted Patents are

 unenforceable due to inequitable conduct because one or more of the individuals

 referenced above, with the intent to deceive the USPTO, failed to comply with the duty

 of candor to the USPTO, as set forth in 37 C.F.R. § 1.56, during prosecution of the

 applications that led to the issuance of the Asserted Patents.

        A. Background Facts Relating to Counterclaim of Unenforceability

               1. At the Time of Prosecution, Leigh Rothschild was Aware of Material,
                  Non-Cumulative Prior Art Related to Barcode Symbology, Including
                  His Own BarPoint System and Related Patents.

        20.    On information and belief, due to his long involvement with filing and

 prosecuting patent applications, Mr. Rothschild is familiar with policies and practices of

 the USPTO and its procedures, including its duty of candor. In particular, according to

 his personal LinkedIn page, Mr. Rothschild:

               is an established inventor who to date has been issued more
               then [sic] eighty US patents and has more than 150 patents
               pending worldwide. Mr. Rothschild’s first patent was
               conceived when he was 17 years of age and granted shortly
               thereafter.

 Exhibit A.

        21.    Moreover, Mr. Rothschild has long been familiar with prosecuting patents

 in the same field as Symbology’s characterization of the Asserted Patents, which

 Symbology alleges relates to barcode symbology, namely “Quick Response Codes (QR

 codes).” In an online profile, Mr. Rothschild was quoted as saying:




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               I have 60 patents—from computer servers to medical to 3D
               displays. Most of my inventions are related to technology,
               such as the method of tying QR codes to the internet….

 Exhibit B.

                      a. The Undisclosed BarPoint System

        22.    Mr. Rothschild’s involvement with barcode technology dates back more

 than a decade. On information and belief, in order to make money at alleged inventing,

 in the late 1990s and early 2000s, Mr. Rothschild started a few businesses, including

 BarPoint.com.

        23.    According to BarPoint.com’s 2001 Annual Report filed with the SEC:

               BarPoint is an online and wireless product information and
               shopping service provider which also develops mobile
               device software applications for consumers and businesses.
               BarPoint's product information and shopping service
               platform utilizes patent pending reverse search technology
               to enable users to search for product information using
               unique product identifiers, including universal product
               codes, known as UPCs or barcode numbers, catalog
               numbers and SKU numbers.

 Exhibit C.

        24.    On information and belief, Mr. Rothschild was deeply involved in the

 affairs of BarPoint.com. In addition to being its founder, he served as Chairman of its

 Board of Directors from 1998 through 2004. During a portion of that time he also served

 as its Chief Executive Officer. See Exhibit A.

        25.    The primary technology that BarPoint.com employed involved scanning a

 barcode with a handheld mobile device and transmitting the decoded barcode

 information over the Internet in order to search for product information (the


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 “BarPoint.com system”). According to BarPoint.com’s 1999 Annual Report filed with

 the SEC:

              BarPoint has developed and recently launched a
              comparative shopping and consumer information Internet
              site utilizing proprietary reverse search technology that
              enables consumers to search the Internet for product-specific
              information using universal product codes, known as UPCs
              or barcode numbers…. The BarPoint service can be accessed
              from a desktop computer or a wide variety of Internet-
              enabled handheld mobile devices, such as personal digital
              assistants (PDAs), interactive pagers and cell phones. By
              typing or scanning the barcode number that manufacturers
              attach to their products, consumers gain access to a variety
              of information gathered by BarPoint on the specific
              product….

                    ***

              On December 6, 1999, we launched a preview version of our
              website, www.barpoint.com, which features a patent-
              pending search engine and software technology that allows
              consumers to use the standard UPC barcode number that
              appears on what we believe to be more than 100 million
              retail items to search for product-specific information from
              and shop for products on the Internet.

                    ***

              The BarPoint technology can be accessed via the Internet at
              www.barpoint.com from desktops or handheld wireless
              devices. It is presently available on a variety of hand-held
              and wireless devices including the Palm VII from
              3COM/Palm Computing, interactive pagers such as those
              from Research In Motion, and the SPT 1500, a Palm VII with
              a built-in scanning device, manufactured by Symbol
              Technologies.

                    ***

              The BarPoint service is available through accessing
              www.barpoint.com through which UPC barcode number
              searches can be executed by simply typing or scanning in a

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               UPC barcode number.

 See Exhibit D.

        26.    The BarPoint system, publicly known, offered for sale, and used around

 1999, is substantially similar to the alleged infringing activity of the Asserted Patents as

 characterized by Symbology in its Complaint:

               The invention claimed in the [Asserted Patents] comprises a
               method for enabling a portable electronic device to retrieve
               information about an object when the object’s symbology, is
               detected.

 See, e.g., Complaint at ¶¶ 14, 18, 22, 26.

        27.    As shown in the claim chart attached hereto as Exhibit E, the BarPoint

 system anticipates and/or renders obvious each and every element of Claim 1 of the

 ’752, ‘369, and ‘190 Patents under Symbology’s characterization of the Asserted Patents’

 scope, and thus is material and not cumulative to the information already of record

 during the prosecution of the Asserted Patents and related applications.

                       b. The Undisclosed Rothschild Patents

        28.    In addition to his firsthand involvement with BarPoint.com, Mr.

 Rothschild was identified as the sole named inventor for at least three provisional

 applications that disclosed the BarPoint.com system, including:

        (a) U.S. Serial no. 60/118,051 (“’051 provisional application”), filed Feb. 1, 1999,
            and entitled “INTERACTIVE METHOD FOR INVESTIGATING
            PRODUCTS”;

        (b) U.S. Serial No. 60/187,646 (“’646 provisional application”), filed Mar. 8, 2000
            and entitled “INTERACTIVE SYSTEM FOR INVESTIGATING PRODUCTS
            ON A NETWORK THROUGH A MOBILE DEVICE”; and

        (c) U.S. Serial No. 60/185,546 (“’546 provisional application”), filed Feb. 28, 2000

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              and entitled “METHOD OF VERIFYING BARCODE/UPC NUMBERS OR
              OTHER SYMBOLOGIES AND LINKING SUCH NUMBERS TO
              INFORMATION ON A GLOBAL COMPUTER NETWORK.”

        29.       On information and belief, the ’051 provisional application became

 publicly available, such as through the USPTO’s public PAIR website, more than one

 year prior to the September 15, 2010 earliest effective filing date of the Asserted Patents,

 because later patent applications published and/or granted claimed priority to them.

 See Manual for Patent Examination Procedure (MPEP) 103 (citing 37 CFR 1.14(a)(1)(iv)-

 (vi)). The ‘051 provisional application is attached hereto as Exhibit F.

        30.       The following disclosures in the ’051 provisional application confirm that

 the BarPoint system was offered for sale and publicly used prior to the filing dates of

 the ‘051 provisional application:

              •   The ’051 provisional application provides a printout from
                  www.barpoint.com entitled “Advertising Barcode,” dated January 20,
                  1999, and shows:




              •   Another printout in the ‘051 provisional application from
                  www.barpoint.com entitled “Advertising Barcode Demo,” dated January
                  20, 1999, shows:




              •   Another    printout   in   the   ‘051   provisional       application      from

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               www.barpoint.com entitled “Link to Your Product’s Website,” dated
               January 20, 1999, shows:




 Exhibit F.

        31.    Based on the provisional application’s disclosures and Mr. Rothschild’s

 firsthand involvement with BarPoint.com, it was known to Mr. Rothschild, his assignee

 Reagan Innovations, LLC, and/or their representatives associated with the filing and

 prosecution of the applications for the Asserted Patents, that the BarPoint system

 described in the provisional applications was offered for sale and publicly used prior to

 the filing dates of the provisional applications.

        32.    Mr.   Rothschild’s    representatives   subsequently   filed   several   non-

 provisional applications that claim priority to the ’051, ’646, and ’546 provisional

 applications, including the applications for U.S. Patent No. 6,430,554 (“’554 Patent”),


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 which issued on August 6, 2002, and U.S. Patent No. 6,651,053 (“’053 Patent”), which

 issued on November 18, 2003, each of which names Mr. Rothschild as the sole inventor.

 These patents are attached hereto as Exhibits G-H.

        33.     On June 30, 2006, Mr. Rothschild filed U.S. Patent Application

 2008/0004978 (“’978 application”) with the USPTO. The ’978 application was published

 January 3, 2008 and is attached hereto as Exhibit I.

        34.     The ’978 application disclosed “a system and method … for identifying an

 article of commerce, e.g., digital media content, and downloading all or part of content

 related to the article of commerce to mobile devices such as portable digital media

 players and/or mobile phone devices” over the Internet. Id., Paras. 0007, 0035. The ’978

 application further disclosed capturing a barcode and decoding the barcode in order to

 acquire an identification code of the article of commerce:




 Id., Para. 0037.

        35.     The ’051, ’646, and ’546 provisional applications, the ’978 application, and

 the ’554 and ’053 Patents (collectively, the “Rothschild Patents”), each anticipates


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 and/or renders obvious each and every element of Claim 1 of the ‘752, ‘369, and ‘190

 Patents under Symbology’s characterization of the alleged infringing activity, as shown

 in the exemplary claim charts for the BarPoint system, the ’978 application, and the ’554

 Patent, attached hereto as Exhibits E, and J-K, and thus the Rothschild Patents prior art

 is material and not cumulative to the information already of record during the

 prosecution of the Asserted Patents and related applications.

                         c. Other Material Prior Art

        36.   Mr. Rothschild noted in the Asserted Patents’ specification that “[s]ome

 applications that may be downloaded to portable electronic devices include symbology

 scanning and/or decoding programs [including] Neomedia’s Neo Reader, Microsoft’s

 Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.” Exhibit L (’752 Patent at

 3:29-33).

        37.   Mr. Rothschild, however, indicated only that these prior art systems

 “scan[]” or “decode[],” but notably failed to disclose to the USPTO that these prior art

 systems also capture a digital image of a barcode and send decoded information (such

 as a URL) to a remote server to retrieve information for display (such as a web page).

        38.   As shown in the claim charts attached as Exhibits M-N, the prior art

 systems identified in the specification, but not fully disclosed by Mr. Rothschild,

 anticipate and/or render obvious each and every element of Claim 1 of the ‘752, ‘369,

 and ‘190 Patents under Symbology’s characterization of the alleged infringing activity,

 and thus full disclosure of the prior art systems is material and not cumulative to the

 information already of record during the prosecution of the Asserted Patents and

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 related applications.




                  2. Leigh Rothschild Deliberately Withheld Material, Non-
                     Cumulative Prior Art References During Prosecution of the
                     Asserted Patents and Related Applications

        39.    Despite Mr. Rothschild having deep knowledge of the Barpoint system,

 the Rothschild Patents, and other material, non-cumulative prior art related to

 technology Symbology alleges the Asserted Patents cover, Mr. Rothschild, his assignee

 Reagan Innovations, LLC, and/or their representatives associated with the filing and

 prosecution of the applications for the Asserted Patents did not submit or identify any

 prior art during the prosecution of the Asserted Patents and related applications, nor

 did the prosecuting attorney(s) submit to the examiner a single Information Disclosure

 Statement (IDS) identifying any prior art.

        40.    The BarPoint system, the Rothschild Patents, and the prior art systems

 identified in the specification, are each material to patentability of the claims of the

 Asserted Patents and not merely cumulative over the prior art that was before the

 examiner.

        41.    Mr. Rothschild, Reagan Innovations, LLC, assignee of the Asserted

 Patents, and/or the representatives associated with the filing and prosecution of the

 applications for the Asserted Patents, knew of the BarPoint system, the Rothschild

 Patents, and the prior art systems identified in the specification, and, on information

 and belief, deliberately failed to disclose the prior art to the USPTO in connection with


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 prosecuting the applications for the Asserted Patents, with the intent to deceive the

 examiner and the USPTO.

       42.    Had Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

 representatives associated with the filing and prosecution of the applications for the

 Asserted Patents made the examiner aware of the BarPoint system, the Rothschild

 Patents, and that the prior art systems identified in the specification anticipate and/or

 render obvious each and every element of Claim 1 of the ‘752, ‘369, and ‘190 Patents

 under Symbology’s characterization of the alleged infringing activity, the examiner

 would not have allowed the claims that issued as Claim 1 of each of the Asserted

 Patents.

                  3. By Withholding Material, Non-Cumulative Prior Art During
                     Prosecution of the Asserted Patents, Leigh Rothschild Intended
                     to Deceive the USPTO

                     a. Leigh Rothschild Lost His Interest in the BarPoint System and
                        Rothschild Patents in Late 2010

       43.    The failure of Mr. Rothschild, his assignee Reagan Innovations, LLC,

 and/or their representatives associated with the filing and prosecution of the

 applications for the Asserted Patents to disclose the BarPoint system and the Rothschild

 Patents prior art, as well as other material prior art, was with the intent to deceive the

 USPTO.

       44.    Mr. Rothschild sought and obtained the Rothschild Patents claiming an

 alleged invention by which a customer scans a barcode with a handheld mobile device,

 and transmits the decoded barcode information over the Internet in order to retrieve



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 product information on the mobile device.

        45.    Mr. Rothschild sought monetary gain through the founding of

 BarPoint.com by assigning the Rothschild Patents to BarPoint.com in order to

 commercialize the alleged inventions of the Rothschild Patents.

        46.    According to SEC filings, BarPoint.com initially was not a commercial

 success:

               Revenue from [BarPoint.com’s wireless Internet software]
               business was limited and decreased through 2002. In 2003,
               this business generated no revenue and we began searching
               to acquire another business…. Effective in August 2004 Mr.
               Rothschild resigned as a director of the Company.

 Exhibit O (2004 SEC Annual Report, Description of Business).

        47.    On or about April 11, 2005, however, BarPoint.com sold the Rothschild

 Patents to NeoMedia Technologies, Inc. in exchange for a cash payment and royalties in

 the amount of 10% of licensing proceeds generated by NeoMedia for 10 years. Id.

 (Intellectual Property). On information and belief, NeoMedia undertook an enforcement

 campaign that generated royalties due under the agreement.

        48.    BarPoint.com’s successor-in-interest subsequently declared bankruptcy,

 and the Rothschild Trust, for which Mr. Rothschild was the managing member,

 purportedly purchased the rights to the licensing proceeds generated from the

 Rothschild Patents. See Exhibit P (Settlement Agreement). 1



 1 Available publicly at:

 https://www.sec.gov/Archives/edgar/data/1022701/000114420410066649/v205602_e
 x10-1.htm.


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        49.    On information and belief, Mr. Rothschild, and/or one or more entities he

 controlled, received compensation for licensing proceeds from the enforcement of the

 Rothschild Patents. Consequently, Mr. Rothschild remained deeply familiar with the

 BarPoint.com system and the Rothschild Patents, including their disclosures and claims.

        50.    Mr. Rothschild’s rights to benefit from the Rothschild Patents ceased in

 late 2010 when he entered into a settlement agreement with NeoMedia assigning all

 rights in the Rothschild Patents to NeoMedia.

                         b. Leigh Rothschild’s Initial Attempt to Reclaim Technology
                            Disclosed in BarPoint System and Other Undisclosed Prior
                            Art Was Rejected.

        51.    On September 15, 2010, Mr. Rothschild filed a patent application that

 ultimately issued as U.S. Patent No. 7,992,773 (“’773 Patent”), entitled “SYSTEM AND

 METHOD FOR PRESENTING INFORMATION ABOUT AN OBJECT ON A

 PORTABLE ELECTRONIC DEVICE,” attached as Exhibit Q. Each of the ‘752, ‘369, and

 ‘190 Patents is a continuation of the application that led to the ’773 Patent and thus

 shares a common specification.

        52.    With at least one substantial exception, the general subject matter of the

 ’773 Patent and the ‘752, ‘369, and ‘190 Patents is nearly identical to the BarPoint system

 and the Rothschild Patents. For example, the summary of the ’773 Patent states:

               Systems and methods are provided for allowing a user to
               utilize a portable electronic device to retrieve information
               about an object in response to the portable electronic device
               detecting symbology, e.g., a barcode, associated with the
               object.

 Exhibit Q at 1:56-60.


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        53.    However, the ’773 Patent’s specification notes alleged problems with prior

 art barcode scanning applications:

               Some applications that may be downloaded to portable
               electronic devices include symbology scanning and/or
               decoding programs. Examples of applications that allow
               scanning include Neomedia's Neo Reader, Microsoft's Smart
               Tags, Android's Shop Savvy, Red Laser, ScanBuy, etc.
               However, when a user wishes to scan an object, the user
               must then select an application on the portable electronic
               device that is capable of accomplishing the desired
               functions. Since a user may have dozens of applications
               loaded on his or her portable electronic device, it may be
               difficult to select the appropriate application for executing
               the scanning functions.

 See, e.g., id. at 3:20-30 (emphasis added).

        54.    In the specification, Mr. Rothschild thus proposed a solution wherein the

 alleged improvement over the prior art barcode scanning applications involves “one or

 more visual detection systems [that] are run in the background of the device, where

 other programs or systems are given priority with respect to processing steps over the

 one or more visual detection systems.” Id. at 11:63-66 (emphasis added). “If a

 background application detects decodable symbology… the detected symbology is sent

 to one or more pre-selected visual detection applications for decoding and information

 retrieval.” Id. at 12:19-33 (emphasis added).

        55.    Notwithstanding this purported inventive feature, Mr. Rothschild initially

 attempted to prosecute independent claim 1 of the patent application that ultimately

 issued as the ’773 Patent without this limitation and covering only that which BarPoint

 and other prior art barcode scanning applications disclosed.



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        56.    At no point during the prosecution of the ’773 Patent or the continuation

 applications did Mr. Rothschild disclose to the USPTO the BarPoint system, the

 Rothschild Patents, or the full capabilities of the prior art barcode scanning applications

 identified in the specification.

        57.    In the December 2010 Non-Final Rejection, the examiner rejected claim 1

 under 35 U.S.C. 102(b) as being anticipated by Fitzpatrick et al. (2008/0201310)

 (“Fitzpatrick”), which disclosed all of the limitations in the originally-drafted version of

 claim 1:




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 See Exhibit R (’773 File History, December 27, 2010 Non-Final Rejection at 2-3).

        58.       To overcome the December 2010 rejection, Mr. Rothschild narrowed

 claim 1 of the ‘773 Patent to include the purportedly novel feature identified in the

 specification:




 See Exhibit S (’773 File History, January 13, 2011 Claim Amendment).

        59.       In the March 2011 Notice of Allowance, the examiner expressly noted that



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 the prior art taught:

         (a) detecting a symbology associated with an object;

         (b) decoding the symbology to obtain a decode string;

         (c) sending the decode string to a remote server for processing;

         (d) receiving information from the server; and

         (e) displaying the information on a display device.

 See Exhibit T (’773 File History, March 28, 2011 Notice of Allowance at 2-3).

         60.   In the March 2011 Notice of Allowance, the examiner confirmed that the

 purported “novelty” of the invention as allowed in claim 1 of the ‘773 Patent was the

 visual detection systems that run in the background and detect the symbology

 associated with an object:




 Id. at 3.

         61.   As a result of the patentee’s amendment to claim 1, every independent

 claim of the ’773 Patent includes the limitation in which a “background” visual


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 detection system “automatically” decodes “symbology” and sends the decode string to

 another “visual detection application” residing on the portable device.

                     c. Mr. Rothschild Intentionally Omitted the Limitations Found
                        in Claim 1 of the ’773 Patent During Prosecution of the ‘752,
                        ‘369, and ‘190 Patents in Order to Recapture the Scope of the
                        BarPoint.com System He No Longer Controlled

       62.    Despite the purported novelty identified in the specification and by the

 examiner during prosecution of the parent application, Mr. Rothschild, his assignee

 Reagan Innovations, LLC, and/or their representatives associated with the filing and

 prosecution of the applications for the ‘752, ‘369, and ‘190 Patents, undertook a

 concerted effort to omit the limitation related to the alleged improvement that had been

 expressly included in claim 1 of the ‘773 Patent in order to overcome the examiner’s

 rejection based on anticipation grounds.

       63.    Unlike claim 1 of the ’773 Patent, independent Claim 1 of the ’752, ‘369,

 and ‘190 Patents does not include the limitation that requires a “background” system

 that “decod[es] the symbology to obtain a decode string” and “send[s]the decode string

 to one or more visual detection applications for processing.”

       64.    On information and belief, Mr. Rothschild’s goal during prosecution of

 the Asserted Patents was to broaden the independent claims in the continuation

 applications to recapture the scope of the invention related to the BarPoint system that

 he had assigned to NeoMedia and for which, as of 2010, he no longer had rights to

 exploit. Mr. Rothschild would not have been able to achieve this goal if he disclosed the

 BarPoint system, the Rothschild Patents, and the full capabilities of the prior art barcode



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 scanning applications identified in the specification, to the examiner during the

 Asserted Patents’ prosecution before the USPTO.

       65.    Had Mr. Rothschild, his assignee Reagan Innovations, LLC, or their

 representatives associated with the filing and prosecution of the applications for the

 Asserted Patents made the examiner aware of the undisclosed, material, non-

 cumulative prior art in Mr. Rothschild’s possession, the examiner would not have

 allowed the claims that issued as Claim 1 of each of the Asserted Patents.

       66.    Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

 representatives associated with the filing and prosecution of the applications for the

 Asserted Patents intended to deceive the USPTO by intentionally failing to disclose the

 BarPoint system, the Rothschild Patents, and the full capabilities of the prior art barcode

 scanning applications identified in the specification, in order to recapture patent rights

 to subject matter Mr. Rothschild no longer controlled.

                                  PRAYER FOR RELIEF

       WHEREFORE, Circle K asks this Court to enter judgment in Circle K’s favor and

 against Symbology by granting the following relief:

       a)     a declaration that the Asserted Patents are invalid;

       b)     a declaration that Circle K does not infringe, under any theory, any valid

 claim of the Asserted Patents that may be enforceable;

       c)     a declaration that the Asserted Patents are unenforceable;

       d)     a declaration the Symbology take nothing by its Complaint;

       e)     judgment against Symbology and in favor of Circle K;

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        f)     dismissal of the Complaint with prejudice;

        g)     a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

 award to Circle K of its costs and attorneys’ fees incurred in this action; and

        h)     further relief as the Court may deem just and proper.

                                      JURY DEMAND

        Circle K hereby demands trial by jury on all issues.



 Dated: March 20, 2017                         Respectfully submitted,


                                                By: /s/ Eleanor T. Barnett
                                                    Eleanor T. Barnett, Esq.
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                                                    Tel: (305) 371-8809


                                                COUNSEL FOR DEFENDANT
                                                MATTEL, INC.



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on March 20, 2017, to all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                                /s/ Eleanor T. Barnett
                                                Eleanor T. Barnett, Esq.




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